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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                            February 2018 Grand Jury

11   UNITED STATES OF AMERICA,               SACR N~ ~8- „~ 8            ~ O ~/~S   V

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. ~ 1343: Wire Fraud;
                                             18 U.S.C. § 2320(a)(1)
14   ROGELIO VASQUEZ,                        Trafficking in Counterfeit Goods;
       aka "Roger Vasquez,"                  18 U.S.C. § 2320(a)(3):
15     aka "James Harrison,"                 Trafficking in Counterfeit
       dba "PRB Logics Corporation,"         Military Goods; 18 U.S.C. ~ 2(b):
16                                           Causing an Act to Be Done;
               Defendant.                    18 U.S.C. ~ 981(a)(1)(C) and
17                                           28 U.S.C. ~ 2461(c) Criminal
                                             Forfeiture]
18

19

20        The Grand Jury charges:

21                            INTRODUCTORY ALLEGATIONS

22        1.   At all times relevant to this Indictment:

23             a.     An integrated circuit ("IC") is a form of

24   semiconductor.   It is an electronic circuit consisting of components

25   and connectors contained on a semiconductor chip.            ICs are used in a

26   variety of applications, including consumer electronics,

27   transportation, medical equipment, military equipment, aircraft

28   equipment, and spacecraft.     ICs are generally marked with the name or
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 1       trademark of the original equipment manufacturer ("OEM"), as well as

 2       a unique part number, a date code ("DC"; generally, the year and week

 3       that the part was manufactured), a production lot code, and a code

 4       reflecting the country of assembly/origin.

 5                  b.     Xilinx Inc. ("Xilinx"), Analog Devices, Inc. ("Analog

 6       Devices"), and Intel Corporation ("Intel"), registered trademarks

 7       ' (collectively, the "Trademarks") on the principal register of the

 8       United States Patent and Trademark Office ("USPTO"), which were

 9       registered for use, and in use, as described below:

10        OWNER                    REGISTRATION               MARK AND DESIGNATED
                                   NUMBER                     GOODS AND SERVICES
11        Xilinx                   1713232                    Mark that consisted of
                                                              the following words,
12                                                            letters, and/or
                                                              numbers in a stylized
13                                                            form:

14

15
                                                                      XILl.NX
16                                                            and used in connection
                                                              with ICs and computer
17                                                            software in the field
                                                              of programming ICs
18                                                            ("the Xilinx mark")

19        Analog Devices            1717784                   Mark that consisted of
                                                              the following design:
20

21

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25 !I~                                                        for use in connection
                                                              with ICs ("the Analog
26                                                            Devices mark")

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      Case 8:18-cr-00085-JLS Document 1 Filed 04/27/18 Page 3 of 19 Page ID #:3




 1   OWNER                     REGISTRATION              MARK AND DESIGNATED
                               NUMBER                    GOODS AND SERVICES
2    Intel                     2446693                   Mark that consisted of
                                                         the following typed
3                                                        drawing:

4
                                                               I NTEL
5
                                                         for use in connection
6                                                        with computers;
                                                         computer hardware;
 7                                                       software for use in
                                                         operating and
8                                                        maintaining computer
                                                         systems;
9                                                        semiconductors;
                                                         microprocessors; ICs;
10                                                       microcomputers;
                                                         computer chipsets;
11                                                       computer motherboards
                                                         and daughterboards;
12                                                       computer graphics
                                                         boards; computer
13                                                       networking hardware;
                                                         computer network
14                                                       adaptors, switches,
                                                         routers and hubs ("the
15                                                       Intel mark")

16

17             c.    Each of the above Trademarks was in use at all times

18   relevant to this Indictment.

19             d.    A counterfeit mark was: (i) a spurious mark that was

20   used in connection with trafficking in goods; (ii) that was identical

21   with, or substantially indistinguishable from, a mark registered on

22   the principal register in the USPTO and in use, whether or not the

23   defendant knew such mark was so registered; (iii) that was applied to

24   and used in connection with the goods for which the work was

25   registered; and (iv) the use of which was likely to cause confusion,

26   to cause mistake, and to deceive.

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 1                e.    Defendant ROGELIO VASQUEZ, also known as ("aka")

 2      "Roger Vasquez," aka "James Harrison" ("VASQUEZ"), was a resident of

 3      Orange, California.

 4                f.    Defendant VASQUEZ, doing business as (~~dba") "PRB

 5      Logics Corporation" ("PRB Logics") in Orange County, California, was

 6      a reseller/broker of electronic components.

 7                g.    Defendant VASQUEZ, dba PRB Logics, maintained an

 8      Internet website www.prblogics.com and advertised name-brand and

 9      trademarked ICs on the website.

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 1                              COUNTS ONE THROUGH NINE

 2                                 [18 U.S.C. ~ 1343]

 3   A.   INTRODUCTORY ALLEGATIONS

4         2.    The Grand Jury repeats and realleges paragraph 1 of this

5    Indictment as if fully set forth herein.

6    B.   THE SCHEME TO DEFRAUD

7         3.    Beginning on a date unknown to the Grand Jury, but no later

8    ( than in or about July 2009, and continuing through on or about May

 9   31, 2016, in Orange County, within the Central District of

10   California, and elsewhere, defendant VASQUEZ, knowingly and with

11   intent to defraud, devised, participated in, and executed a scheme to

12   defraud customers as to material matters, and to obtain money and

13   property from such customers by means of material false and

14   fraudulent pretenses, representations, and promises, and the

15   concealment of material facts.                                                i

16   C.   THE MANNER AND MEANS OF THE SCHEME TO DEFRAUD

17        4.    The scheme to defraud operated, in substance, in the

18   following manner:

19              a.    Doing business as PRB Logics, defendant VASQUEZ

20   acquired, from sources in the People's Republic of China ("China"),

21   old, used and/or discarded ICs that were repainted and remarked with

22   a counterfeit mark and further remarked with an altered date code,

23   lot code, and/or country of origin, for the purpose of reselling

24   them.

25              b.    In order to deceive customers and end users, defendant

26   VASQUEZ instructed his suppliers to remark ICs in a manner such that

27   his customers and end users seeking new ICs would believe that the

28   ICs were new, rather than used and remarked.
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 1               c.   Defendant VASQUEZ, through false and fraudulent

 2   representations and the concealment of material facts, then resold

 3   the repainted and remarked ICs in an effort to deceive customers and

4    end users into thinking that the parts were new parts.

5                d.   In order to deceive customers and end users into

6    believing that the ICs were new, rather than used and remarked,

 7   defendant VASQUEZ also instructed a testing laboratory in China to

8    provide him with two versions of its test report; one to defendant

9    VASQUEZ with all test results and a separate sanitized version to

10   provide to his customer (which the customer, in turn, would provide

11   to the end user) without the results of any visual inspection and

12   permanency or other marking tests ("marking tests"), which would have

13   revealed that the ICs were used, remarked and/or in poor condition.

14   D.     THE USE OF THE WIRES

15          5.   On or about the dates set forth below, in Orange County,

16   within the Central District of California, and elsewhere, defendant

17   VASQUEZ, for the purpose of executing the above-described scheme to

18   defraud, transmitted and caused the transmission of the following

19   items by means of wire communication in interstate and foreign

20   commerce:

21
      COUNT           DATE       WIRE COMMUNICATION
22
      ONE             3-10-16    Email sent from California to supplier in
23                               China responding to supplier who advised
                                 that parts would not pass a visual
24                               inspection and instructing that parts "must
                                 look good too."
25
      TWO             3-10-16    Email sent from California to supplier in
26                               China instructing supplier to "please do
                                 your best so parts are remark correctly."
27

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     Case 8:18-cr-00085-JLS Document 1 Filed 04/27/18 Page 7 of 19 Page ID #:7




 1   THREE          3-10-16     Email sent from California to supplier in
                                China instructing supplier to "please make
 2                              sure the top surface is remark and parts
                                look good too."
 3
     FOUR           3-22-16     Email sent from California to the testing
4                               laboratory in China instructing the
                                laboratory to create one test report for
5                               defendant's customer and another test
                                report for defendant reflecting "how the
6                               parts look like."

 7   FIVE           4-1-16      Email sent from California to the testing
                                laboratory in China instructing the
8                               laboratory not to include the marking test
                                on the test report, defendant knows the
9                               parts are remarked, and asking if there is
                                a way to ship parts to defendant so he does
10                              not have a problem with U.S. Customs.

11   SIX            4-4-16     Email sent from California to the testing
                               laboratory in China instructing the
12                             laboratory not to type on the final test
                               report the results of the inspection and
13                             "ALSO DO NTO MENTION ANYTHIGN ABOUT THE
                               MARKING TEST."
14
     SEVEN          4-18-16     Email sent from California to supplier in
15                              China instructing supplier not to use the
                                supplier's name on the shipment because
16                              defendant did not want his customer to ever
                                contact the supplier because defendant told
17                              his customer that the parts were new.

18   EIGHT          5-11-16     Email sent from California to supplier in
                                China forwarding test report on the parts
19                              and asking why supplier did not "do a good
                                job" on the parts.
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 1                                      COUNT NINE

 2                         [18 U.S.C. ~§ 2320(a)(1), 2(b)]

 3        6.    The Grand Jury repeats and realleges paragraph 1 of this

 4   ' Indictment as if fully set forth herein.

 5        7.    On or about December 23, 2015, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in, and caused to be

 8   trafficked in, goods, namely, 24 "Xilinx" ICs, part number XC95216-

 9   lOPQ160I, and knowingly used on and in connection with such goods a

10   counterfeit mark, namely, a spurious mark identical to and

11   substantially indistinguishable from the Xilinx mark, and the use of

12   which counterfeit mark was likely to cause confusion, to cause

13   mistake, and to deceive.

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 2                        [18 U.S.C. ~~ 2320(a)(1), 2(b)]

 3        8.   The Grand Jury repeats and realleges paragraph 1 of this

4    Indictment as if fully set forth herein.

 5        9.   On or about February 4, 2016, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in, and caused to be

 8   trafficked in, goods, namely, 24 "Analog Devices" ICs, part number

 9   DAC100ACQ5/883, and knowingly used on and in connection with such

10   goods a counterfeit mark, namely, a spurious mark identical to and

11   substantially indistinguishable from the Analog Devices mark, and the

12   use of which counterfeit mark was likely to cause confusion, to cause

13   mistake, and to deceive.

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 1                                     COUNT ELEVEN

 2                          [18 U.S.C. ~~ 2320(a)(1), 2(b)]

 3          10.   The Grand Jury repeats and realleges paragraph 1 of this

 4     Indictment as if fully set forth herein.

 5          11.   On or about February 4, 2016, in Orange County, within the

 6     Central District of California, and elsewhere, defendant VASQUEZ,

 7     with intent to deceive and confuse, trafficked in, and caused to be

 8     trafficked in, goods, namely, 20 "Xilinx" ICs, part number XQ4028EX-

 9     4HQ240N, and knowingly used on and in connection with such goods a

10     counterfeit mark, namely, a spurious mark identical to and

11     substantially indistinguishable from the Xilinx mark, and the use of

12     which counterfeit mark was likely to cause confusion, to cause

13     mistake, and to deceive.

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 1                                    COUNT TWELVE

 2                        [18 U.S.C. §~ 2320(a)(1), 2(b)]

 3        12.   The Grand Jury repeats and realleges paragraph 1 of this

 4   Indictment as if fully set forth herein.

 5        13.   On or about February 11, 2016, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in, and caused to be

 8   trafficked in, goods, namely, 16 "Xilinx" ICs, part number XC3042A-

 9   7PG84M, and knowingly used on and in connection with such goods a

10   counterfeit mark, namely, a spurious mark identical to and

11   substantially indistinguishable from the Xilinx mark, and the use of

12   which counterfeit mark was likely to cause confusion, to cause

13   mistake, and to deceive.

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 1                                     COUNT THIRTEEN

 2                           [18 U.S.C. §§ 2320(a)(1), 2(b)]

 3          14.   The Grand Jury repeats and realleges paragraph 1 of this

 4     Indictment as if fully set forth herein.

 5          15.   On or about March 30, 2016, in Orange County, within the

 6     Central District of California, and elsewhere, defendant VASQUEZ,

 7     I with intent to deceive and confuse, trafficked in, and caused to be

 8 I trafficked in, goods, namely, 7 "Xilinx" ICs, part number XQ4005E-

 9     4PG156M, and knowingly used on and in connection with such goods a

10     counterfeit mark, namely, a spurious mark identical to and

11     substantially indistinguishable from the Xilinx mark, and the use of

12     which counterfeit mark was likely to cause confusion, to cause

13     mistake, and to deceive.

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 1                                  COUNT FOURTEEN

 2                        [18 U.S.C. ~§ 2320(a)(1), 2(b)

 3        16.   The Grand Jury repeats and realleges paragraph 1 of this

 4   Indictment as if fully set forth herein.

 5        17.   On or about April 7, 2016, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in, and caused to be

 8   trafficked in, goods, namely, 7 "Xilinx" ICs, part number XQ4005E-

 9   4PG156M, and knowingly used on and in connection with such goods a

10   counterfeit mark, namely, a spurious mark identical to and

11   substantially indistinguishable from the Xilinx mark, and the use of

12   which counterfeit mark was likely to cause confusion, to cause

13   mistake, and to deceive.

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 1                                   COUNT FIFTEEN

 2                        [18 U.S.C. §~ 2320(a)(3), 2(b)]

 3        18.   The Grand Jury repeats and realleges paragraph 1 of this

 4   Indictment as if fully set forth herein.

 5        19.   On or about May 5, 2016, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in, and caused to be

 8   trafficked in, goods, knowing that such goods were counterfeit

 9   military goods, the use, malfunction, and failure of which were

10   likely to cause serious bodily injury and death, the disclosure of

11   classified information, impairment of combat operations, and other

12   significant harm to a combat operation, a member of the Armed Forces,

13   and to national security, namely, 8 "Xilinx" ICs, part number

14   XQ2VP40-5FG676N.

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 1                                     COUNT SIXTEEN

 2 i                        [18 U.S.C. ~~ 2320(a)(1), 2(b)]

 3          20.   The Grand Jury repeats and realleges paragraph 1 of this

 4     Indictment as if fully set forth herein.

 5          21.   On or about May 11, 2016, in Orange County, within the

 6     Central District of California, and elsewhere, defendant VASQUEZ,

 7     with intent to deceive and confuse, trafficked in, and caused to be

 8     trafficked in, goods, namely, 217 "Intel" ICs, part number

 9     S80C196KB12, and knowingly used on and in connection with such goods

10     a counterfeit mark, namely, a spurious mark identical to and

11     substantially indistinguishable from the Intel mark, and the use of

12     which counterfeit mark was likely to cause confusion, to cause

13     mistake, and to deceive.

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 1                        COUNTS SEVENTEEN THROUGH TWENTY-NINE

 2                             [18 U.S.C. § 2320(a)(1)]

 3        22.    The Grand Jury repeats and realleges paragraph 1 of this

 4   Indictment as if fully set forth herein.

 5        23.    On or about May 26, 2016, in Orange County, within the

 6   Central District of California, and elsewhere, defendant VASQUEZ,

 7   with intent to deceive and confuse, trafficked in goods, namely, the

 8   goods listed in the below chart, and knowingly used on and in

 9   connection with such goods counterfeit marks, namely, spurious marks

10   identical to and substantially indistinguishable from the Xilinx

11   mark, and the use of which counterfeit mark was likely to cause

12   confusion, to cause mistake, and to deceive:

13
     COUNT           QTY.    TRAFFICKED GOOD
14
     SEVENTEEN       3       "Xilinx" IC, part no. XC2S200-5FG456C
15
     EIGHTEEN        480     "Xilinx" IC, part no. XC2V1000-4FGG456C (DC 0725)
16
     NINETEEN        336     "Xilinx" IC, part no. XC2V1000-4FGG456C (DC 0709)
17
     TWENTY          40      "Xilinx" IC, part no. XC2V4000-4BFG957C
18
     TWENTY-ONE      1       "Xilinx" IC, part no. XC2VP40-5FF1152I
19
     TWENTY-TWO      152     "Xilinx" IC, part no. XC2VP40-5FFG1152I
20
     TWENTY-THREE    3       "Xilinx" IC, part no. XC4085XL-3BG560I
21
     TWENTY-FOUR     54      "Xilinx" IC, part no. XC9536-10VQG44I
22
     TWENTY-FIVE     100     "Xilinx" IC, part no. XCS05XL-4VQ100I
23
     TWENTY-SIX      10      "Xilinx" IC, part no. XCS40-4PQ240C
24
     TWENTY-SEVEN    13      "Xilinx" IC, part no. XCV1000E-6HQ240I
25

26   TWENTY-EIGHT    108     "Xilinx" IC, part no. XCV2000E-7FG680C

27   TWENTY-NINE     7       "Xilinx" IC, part no. XQ2VP40-5FG676N

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 1                                     COUNT THIRTY

 2 i                        [18 U.S.C. ~~ 2320(a)(1), 2(b)]

 3          24.   The Grand Jury repeats and realleges paragraph 1 of this

 4     Indictment as if fully set forth herein.

 5          25.   On or about May 31, 2016, in Orange County, within the

 6     Central District of California, and elsewhere, defendant VASQUEZ,

 7     with intent to deceive and confuse, trafficked in, and caused to be

 8     trafficked in, goods, namely, 7 "Xilinx" ICs, part number XQ4005E-

 9     4PG156M, and knowingly used on and in connection with such goods a

10     counterfeit mark, namely, a spurious mark identical to and

11     substantially indistinguishable from the Xilinx mark, and the use of

12     which counterfeit mark was likely to cause confusion, to cause

13     mistake, and to deceive.

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 1                               FORFEITURE ALLEGATION

 2               [18 U.S.C. ~ 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3         26.   Pursuant to Federal Rule of Criminal Procedure 32.2(a),

 4   notice is hereby given that upon conviction of any of the offenses in

 5   violation of Title 18, United States Code, Sections 1343 and/or 2320,

 6   ' set forth in Counts One through Thirty of this Indictment, defendant

 7   VASQUEZ shall forfeit to the United States of America, pursuant to

 8   Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

 9   United States Code, Section 2461(c), the following:

10               a.   All right, title and interest in any property, real or

11   personal, which constitutes or is derived from proceeds obtained,

12   directly or indirectly, as a result of each such violation; and

13               b.   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total amount of proceeds

15   derived from each such violation.

16         27.   Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 28, Section 2461(c), defendant VASQUEZ, if

18   so convicted, shall forfeit substitute property, up to the total

19   value of the property described in paragraph 26 if, by any act or

20   omission of the defendant, the property described in paragraph 26 or

21   any portion thereof, (a) cannot be located upon the exercise of due

22   diligence; (b) has been transferred or sold to, or deposited with, a

23   third party; (c) has been placed beyond the jurisdiction of the

24   court; (d) has been substantially diminished in value; or (e)

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 1   has been commingled with other property that cannot be divided

 2   without difficulty.

 3

 4                                            A TRUE BILL

 5

 6
                                              Foreperson
 7

8    NICOLA T. HANNA
     United States Attorney
 9

10

11   PATRICK R. FITZGERALD
     Assistant United States Attorney
12   Chief, National Security Division

13   RYAN WHITE
     Assistant United States Attorney
14   Chief, Cyber & Intellectual
     Property Crimes Section
15
     LISA E. FELDMAN
16   Assistant United States Attorney
     Cyber & Intellectual Property
17   Crimes Section

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